Case 3:10-cv-01513-CAB-KSC Document 259 Filed 01/06/16 PageID.11910 Page 1 of 140




    1                        UNITED STATES DISTRICT COURT

    2                      SOUTHERN DISTRICT OF CALIFORNIA

    3

    4   RAMON EUGENIO SANCHEZ RITCHIE,       )
                                             )
    5                         Plaintiff,     )   CASE NO 10CV1513-CAB-KSC
                                             )
    6              vs.                       )
                                             )
    7   SEMPRA ENERGY,                       )
                                             )
    8                         Defendant.     )

    9

  10                        Transcript Of Motion Hearing
                     Before The Honorable Cathy Ann Bencivengo
  11                  Thursday, September 3, 2015, 2:00 p.m.
                               San Diego, California
  12
        For The Plaintiff:
  13         Hulett Harper Stewart
             Kirk B. Hulett, Esq.
  14         Karen Thomas Stefano, Esq.
              525 B Street, Suite 760
  15          San Diego, California 92101

  16    For The Defendant:
             Hueston Hennigan LLP
  17         Marshall A. Camp, Esq.
             Lee A. Linderman, Esq.
  18         523 W. 6th Street, Suite 400
             Los Angeles, California 90014
  19

  20

  21    Proceedings recorded by stenography, transcript produced by
        computer assisted software
  22    ____________________________________________________________

  23                     Mauralee Ramirez, RPR, CSR No. 11674
                            Federal Official Court Reporter
  24                         333 West Broadway, Suite 420
                             San Diego, California 92101
  25                           ordertranscript@gmail.com
       Case 3:10-cv-01513-CAB-KSC Document 259 Filed 01/06/16 PageID.11911 Page 2 of 240




           1    San Diego, California; Thursday, September 3, 2015; 2:00 p.m.

           2              THE CLERK:    10CV1513-CAB-KSC, Ritchie v. Sempra

           3    Energy.   This is calendared for a motion hearing.

           4              Counsel, please state your appearances.        We'll begin

14:01:02   5    with plaintiff's counsel.

           6              MR. HULETT:    Good afternoon, your Honor.       Kirk Hulett

           7    on behalf of Eugene Ritchie, plaintiff.

           8              MS. STEFANO:    And Karen Stefano as well.

           9              THE COURT:    Thank you.

14:01:12   10             MR. CAMP:    Marshall Camp and Lee Linderman for the

           11   defendant, Sempra Energy.

           12             THE COURT:    Thank you.    All right.    We are on calendar

           13   for defendant's summary judgment request.        The Court did issue

           14   a tentative early in the week.       I trust that you both had an

14:01:27   15   opportunity to get that and review it.        In light of the

           16   tentative, which is in favor of the defendant's motion, I am

           17   going to ask if you will yield the floor to the plaintiffs.

           18             MR. CAMP:    Certainly, your Honor.

           19             THE COURT:    There was a tremendous amount of material.

14:01:42   20   We went through it as best we could.       Our failure to find

           21   evidentiary support that raises a material issue of fact here

           22   that would meet the elements on which you have the burden of

           23   proof.    So if you have specific evidence you feel we've

           24   overlooked, please bring is to my attention.

14:02:04   25             MR. HULETT:    Thank you, your Honor.      And it's clear
       Case 3:10-cv-01513-CAB-KSC Document 259 Filed 01/06/16 PageID.11912 Page 3 of 340




14:02:06   1    that the Court has reviewed the volumes of material, and it's

           2    very helpful to us as the litigants to have your Honor's

           3    understanding and factual analysis.       I think that there's one

           4    big question is, there's three exceptions to the general rule

14:02:28   5    that an interim judicial ruling would give as a matter of law,

           6    probable cause to the defendant.       And there's no dispute that

           7    there are three exceptions.      In fact, the exceptions are listed

           8    in Sempra's own motion.

           9              And those exceptions are, when the defendant here had

14:02:52   10   supplied knowingly false information to the prosecutor at the

           11   initial phase back in 2006, that there was withholding of

           12   material information from the prosecutor's office back in 2006

           13   when the complaints were filed, and finally, if there was a

           14   showing of unreasonable pressure or improper prosecutorial

14:03:20   15   intervention by Sempra or others on Sempra's behalf, those

           16   three exceptions all exist here.

           17             Your Honor has found that the Plumley case is the

           18   applicable case here that really ought to be relied upon for a

           19   finding by your Honor because Mr. Ritchie presented his version

14:03:50   20   of the facts at the preliminary hearing back in 2006 and 2007,

           21   that it was necessarily found that Sempra and its agents had

           22   not knowingly lied.     I challenge the defendants or the Court to

           23   find anything in the exhibits, which are Exhibits S and T,

           24   which are the two intermediary orders relied upon by Sempra for

14:04:18   25   a conclusion that there was a finding necessarily, or a finding
       Case 3:10-cv-01513-CAB-KSC Document 259 Filed 01/06/16 PageID.11913 Page 4 of 440




14:04:26   1    at Sempra or its agents had not intentionally lied.          That

           2    finding doesn't exist in either one of those.         What is true.

           3               THE COURT:    I think you're shifting a burden here that

           4    you have because where is your evidence that they knowingly

14:04:45   5    lied?    First of all, that they, Sempra, knowingly lied in 2006?

           6               MR. HULETT:   Well, I'd like to address the issue of

           7    party -- the proper party here.       I can do that now, if you

           8    like.    I was planning on addressing it later, but I can do it

           9    now.    There is nowhere in the moving papers where it was

14:05:10   10   challenged that Sempra was a proper party here.         There has been

           11   no challenge in their motion that it was some party other than

           12   Sempra who was making the representations and is responsible

           13   for the charge of malicious prosecution.

           14              Your Honor has raised that and identified that as a

14:05:32   15   ground independent of the reasons that Sempra moved for.            And I

           16   would just say that if your Honor is intending to stand by the

           17   ruling that there is no evidence that it was Sempra, I would

           18   ask, first of all, that I think that Rule 56 would require us

           19   to be allowed to meet that question since it wasn't presented

14:05:53   20   by Sempra in its motion, and accordingly, we would have

           21   sufficient time in which to respond.       The first time this issue

           22   was raised was in the tentative ruling we received a couple

           23   days ago.

           24              Towards that point, as best we could in a short period

14:06:12   25   of time, a couple things struck me.       In our complaint, we
       Case 3:10-cv-01513-CAB-KSC Document 259 Filed 01/06/16 PageID.11914 Page 5 of 540




14:06:15   1    alleged at paragraph 8 that Sempra directly owns -- I'm sorry,

           2    that's their answer.     We allege that Sempra owns, controls, and

           3    operates ECA and Sempra LNG.      And we go on at paragraphs 10

           4    through 12 to assert other reasons for alterego theories and

14:06:44   5    control person theories.     They are not dependent.       They are not

           6    allegations simply that ECA and Sempra LNG were wholly-owned

           7    subsidiaries of Sempra.     That's not the basis.      The basis for

           8    the allegations are that Sempra controlled these entities.

           9              THE COURT:    Did they admit that in their answer that

14:07:04   10   they owned --

           11             MR. HULETT:    Well, I was going to get to that.       At

           12   paragraph 8 of their answer, Sempra admits that Sempra

           13   indirectly owns Sempra LNG, Sempra Mexico, and ECA, and also

           14   admits that it directly owns LNG receipt terminals.          They don't

14:07:26   15   deny -- in that response, they don't deny the allegation that

           16   Sempra owns, controls, and operates those entities.          There was

           17   no denial that Sempra Energy controlled and operated those

           18   subsidiaries.

           19             Moreover, given the opportunity, we believe that we

14:07:44   20   could establish through the testimony and through the

           21   documentation that Sempra did, in fact, control on a day-to-day

           22   basis, and otherwise the subsidiaries in question.          It's just

           23   because it was not presented as an issue for dispute.          I know

           24   your Honor has rules on motions for summary judgment, and

14:08:11   25   statements for uncontested facts are not part of the process.
       Case 3:10-cv-01513-CAB-KSC Document 259 Filed 01/06/16 PageID.11915 Page 6 of 640




14:08:14   1    Obviously we were going through the motion, read through the

           2    motion, and there was no contest that Sempra was the proper

           3    party.

           4              THE COURT:    All right.

14:08:24   5              MR. HULETT:    So with that, I would ask for a

           6    continuance on that issue, or if your Honor were to rule --

           7              THE COURT:    Well, let's set that issue aside for the

           8    moment and assume we're proceeding and Sempra is going to

           9    accept that they're responsible for the acts of ECA, then let's

14:08:46   10   get back to your expressions that started with where there is

           11   knowingly false or knowingly withheld information.          Other than

           12   the statement that they knowingly did that, what is the

           13   evidence that you have in the record that they knowingly

           14   withheld or gave false information to the prosecutor in 2006?

14:09:09   15             MR. HULETT:    Well, the plaintiff and other witnesses

           16   testified that there was a meeting in 2001 with the

           17   representative of Sempra, Mr. Molina-Robles where it was

           18   provided to him copies of information that Mr. Ritchie was

           19   entitled to possession as a matter of law.        The Agrarian Reform

14:09:31   20   Department issued that right of possession.

           21             And I note also, a side tack for a moment.         The issue

           22   of title seems to keep coming up in this case.         And I

           23   understand that Sempra wants to rely on the issue of title, but

           24   the issue of title is not relevant to the question of the crime

14:09:55   25   with which Sempra accused Mr. Ritchie.        As Sempra admits in its
       Case 3:10-cv-01513-CAB-KSC Document 259 Filed 01/06/16 PageID.11916 Page 7 of 740




14:10:01   1    response and its motion, the Agrarian Reform Department in

           2    Mexico issues entitlement to possession.        It's sort of like the

           3    old Oklahoma territory days, the government wanted people to

           4    cultivate and ranch parcels down in Mexico.         Adverse possession

14:10:18   5    granted to Mr. Ritchie by the Agrarian Reform Department was,

           6    in fact, certified deliverance of that information.

           7              Through that process, once he gets the right to

           8    possession, which he did receive in 1994, thereafter there is a

           9    process by which he can obtain legal title.         But whether he

14:10:42   10   gets legal title through that process or not does not negate

           11   his entitlement to possession.      So the evidence that Sempra

           12   knew that he had a legal entitlement to possession is through

           13   the testimony my client and several other clients who were at

           14   that meeting.

14:11:01   15             THE COURT:    This is the same document though that is

           16   stamped canceled and has no signature of authority on it, this

           17   1994...

           18             MR. HULETT:    No, no.   It's a different document, your

           19   Honor.

14:11:12   20             THE COURT:    And what document is that?

           21             MR. HULETT:    The other document?

           22             THE COURT:    Yes.

           23             MR. HULETT:    The document that you're referring to was

           24   a Petition for Title, but there was not a delivery of that, and

14:11:26   25   that was canceled by the Agrarian Reform Department, but it
       Case 3:10-cv-01513-CAB-KSC Document 259 Filed 01/06/16 PageID.11917 Page 8 of 840




14:11:30   1    didn't cancel his right to possession.        That's what's been

           2    found repeatedly by the courts in Mexico.

           3              THE COURT:    The document you're telling me that

           4    demonstrates that he then has this document from the Agrarian

14:11:44   5    Reform.   Where is that?    What document is that?

           6              MR. HULETT:    I don't have that document as part of

           7    this record.

           8              THE COURT:    So there is no document?

           9              MR. HULETT:    There is a document, your Honor.

14:11:55   10             THE COURT:    Well, it's not part of the record.

           11             MR. HULETT:    It's part of the record that was

           12   submitted to the courts in Mexico.       Your Honor, one of the

           13   things that happened in this court case is your early ruling

           14   that we're not going to try to question of whether Mr. Ritchie

14:12:13   15   was entitled to possession or not.       That issue was finally and

           16   adjudicated in Mr. Ritchie's favor.       That issue is admitted.

           17             THE COURT:    They're saying no.

           18             MR. HULETT:    Well, the final judgments of the courts

           19   in Mexico found that Mr. Ritchie was entitled to possession.

14:12:31   20   That's an order from October of 2007, an order in 2009, another

           21   order affirming that judgment, and finally, 2010.          During that

           22   entire period of time Mr. Ritchie was dispossessed because

           23   Sempra refused to give the property back despite the rulings.

           24             THE COURT:    So has Sempra been ordered by Mexico to

14:12:53   25   return the property to Mr. Ritchie?
       Case 3:10-cv-01513-CAB-KSC Document 259 Filed 01/06/16 PageID.11918 Page 9 of 940




14:12:55   1               MR. HULETT:   Yes, yes.

           2               THE COURT:    Have they vacated it?

           3               MR. HULETT:   Yes.

           4               THE COURT:    Have they paid him?

14:13:00   5               MR. HULETT:   Mr. Ritchie is in possession of the

           6    property and has been since May of 2010, at which point because

           7    of the orders of 2010, Mr. Ritchie was given possession and

           8    Sempra was ousted, thrown off the property with the help of

           9    legal officials because Sempra refused to move.         Mr. Ritchie is

14:13:22   10   in possession of that property today.        So one of the issues is,

           11   if you're asking me whether Mr. Ritchie has come to court today

           12   to prove his entitlement to possession, that issue is, I don't

           13   believe, part of --

           14              THE COURT:    Well, no.   The question is, what can you

14:13:43   15   prove ECA knew in 2006 that they either misrepresented,

           16   knowingly and falsely, to the prosecutors or withheld, and your

           17   first piece of information you told me was the meeting from

           18   2001 where Mr. Ritchie presented evidence to them that he had a

           19   documented property right, but that document is not part of

14:14:12   20   this record.    I only have a representation that that happened.

           21   And I don't know what that document actually said.

           22              MR. HULETT:   Fair enough.    I don't know that it

           23   matters.

           24              THE COURT:    Well, it does, because it was obviously

14:14:26   25   disputed whether or not he owned a piece or part of that lot.
                                                                                   1040
       Case 3:10-cv-01513-CAB-KSC Document 259 Filed 01/06/16 PageID.11919 Page 10 of




14:14:32   1    It was not necessarily facially clear at the time to everybody

           2    involved, or at least to Mr. Molina who met with him, that he

           3    had legitimate and legal control of the property and that

           4    buying it from him would put an end to it.

14:14:53   5              MR. HULETT:   Well, I think the evidence is that Sempra

           6    knew through their due diligence process -- there's another

           7    piece of evidence, Interrogatory No. 2 to Sempra's responses,

           8    where they admit that they searched through the Agrarian Reform

           9    Department records, and through that search, as our expert

14:15:16   10   testified, the chain of possessory interest that Mr. Ritchie

           11   had included documents that post-dated the 1994 so-called

           12   cancellation.

           13             There were other events that occurred throughout that

           14   period, and those are findings of the courts in making

14:15:38   15   determinations in '07, '09 and December 2010 explaining

           16   precisely all of the Agrarian Reform documentation that was

           17   part of the record as of 2006.      So that's additional

           18   information.

           19             Those are admissions by Sempra that during the course

14:15:54   20   of their due diligence in 2005 when they were purporting to buy

           21   the property from Pena Navarro, they admit they searched those

           22   Agrarian Reform files and necessarily would have found those

           23   documents.   Now the reason we don't know exactly what they

           24   found is because they have identified four or five specific due

14:16:20   25   diligence files that they claim to have created back in 2005
                                                                                   1140
       Case 3:10-cv-01513-CAB-KSC Document 259 Filed 01/06/16 PageID.11920 Page 11 of




14:16:28   1    and early 2006 before they purchased the property from these

           2    alleged owners.

           3              But they refused to produce those documents.        They've

           4    identified in the attorney/client privilege documents.         We made

14:16:44   5    a motion to compel the production of those documents.         Those

           6    motions were denied, and so what we have here is Sempra saying

           7    that throughout the course of the due diligence files, we

           8    didn't learn that Castanon was dead.       We didn't really know

           9    what Mr. Ritchie knew or didn't know, but we're not going to

14:17:02   10   let you see whether the files confirmed that or not.         So they

           11   should be estopped from making the argument that they didn't

           12   know what the Agrarian Reform files contained.

           13             THE COURT:    Do you have that file though?     Because if

           14   it's a public file that they searched in due diligence and

14:17:21   15   you're saying that they should have found those things, are

           16   those things part of this record that I can conclude from those

           17   things that had they done due diligence, although I'm not

           18   really sure what any of that has to do with the criminal

           19   prosecution here.    In terms of whether they did due diligence

14:17:38   20   or not goes to the whole question of maybe the ownership later

           21   of the property, but are those -- where are those things?

           22   They're your client's documents.      Are they part of this record?

           23             MR. HULETT:   They had been produced as part of the

           24   record.   They were part of the court records that have been

14:17:57   25   produced in the case, and the courts of Mexico have cited to
                                                                                   1240
       Case 3:10-cv-01513-CAB-KSC Document 259 Filed 01/06/16 PageID.11921 Page 12 of




14:18:01   1    them and made conclusions.

           2              THE COURT:    Help me here.   I have two big stacks of

           3    documents from you.     Where are they?

           4              MR. HULETT:   The documents?

14:18:14   5              THE COURT:    The documents that you're saying it is not

           6    reasonable that they couldn't have found if they had actually

           7    done due diligence.

           8              MR. HULETT:   The documents are referred to in Exhibit

           9    1 and 2 specifically.

14:18:26   10             THE COURT:    Those are not admissible.     The documents.

           11   Not conclusions, factual conclusions drawn by the Court.         The

           12   underlying documents.     Those would be the facts that would

           13   support that finding, those facts would be admissible.         The

           14   Court's finding in and of itself is hearsay and is not

14:18:45   15   admissible.   Do you have the underlying documents that you say

           16   support the Court's finding in 2010, and are they part of this

           17   record.

           18             MR. HULETT:   They are not.

           19             THE COURT:    In this court, in this motion?

14:18:57   20             MR. HULETT:   They have not been submitted in this

           21   record.

           22             THE COURT:    Okay.

           23             MR. HULETT:   They are part of the production of

           24   documents that were part of the case.

14:19:03   25             THE COURT:    Well, they should have been the record
                                                                                   1340
       Case 3:10-cv-01513-CAB-KSC Document 259 Filed 01/06/16 PageID.11922 Page 13 of




14:19:06   1    here.

           2              MR. HULETT:    That may be, your Honor.

           3              THE COURT:    Okay.   Go ahead.

           4              MR. HULETT:    Given an opportunity, if that's the basis

14:19:11   5    for your Honor's rulings, my understanding of --

           6              THE COURT:    No, it's showtime.     We're not going to

           7    supplement later.      If it's not here, it's not part of the

           8    record, I'm not considering it in the future, so...

           9              MR. HULETT:    Well they had --

14:19:25   10             THE COURT:    Go ahead.

           11             MR. HULETT:    Well, I would just suggest that Sempra

           12   has not challenged that there was a lack of knowledge on their

           13   part about the Agrarian Reform documents.

           14             THE COURT:    Oh, I think they would disagree with that.

14:19:39   15             MR. HULETT:    Well, it's not part of the record.      They

           16   didn't make that part of their motion.        Their motion is saying

           17   that the evidence that was presented by Mr. Ritchie was

           18   necessarily concluded by the interim judge, as to eliminate our

           19   claim that they lack probable cause.        That's the gist of their

14:19:59   20   argument.

           21             And the question is not what Mr. Ritchie told the

           22   courts by way of trying to defend himself, the question is,

           23   what did Sempra say, and did they tell the courts the truth.

           24   We've cited that they didn't tell court the truth because they

14:20:19   25   didn't disclose that they had a reasonable basis to believe
                                                                                   1440
       Case 3:10-cv-01513-CAB-KSC Document 259 Filed 01/06/16 PageID.11923 Page 14 of




14:20:24   1    that Mr. Ritchie was the legal possessor of the property.         And

           2    I think what the case law says is that when there's a question

           3    of what the defendant knew at the time of the interim hearing,

           4    that is a question of fact, and we believe that we've

14:20:46   5    identified evidence to let a trier of fact determine whether

           6    Sempra knew at the time they presented evidence at the hearing

           7    whether it did or did not know that Mr. Ritchie was entitled to

           8    possession.

           9              Let me move on to another important piece of evidence.

14:21:16   10   And that is the withholding of evidence from the prosecutor.

           11   What we have -- what we have provided by way of evidence, we've

           12   established that there was a 1999 ruling that was submitted to

           13   the Court by the prosecutor's office that said that

           14   Navarro-Pena and Castanon, who were the purported sellers of

14:21:54   15   the property, had sought an order in 1999 from the courts in

           16   Mexico that the two of them were entitled to possession of the

           17   property that is in dispute.

           18             And in reality, there was a 2001 ruling in that same

           19   case, the same case number, and that 2001 ruling rejected the

14:22:22   20   notion that Navarro-Pena and Castanon had possessory interest

           21   in the property.    The prosecutor testified that he was provided

           22   with a copy of the 1999 order that was evidence of their

           23   entitlement to possession and not Mr. Ritchie's, and testified

           24   that had he been provided a copy of the 2001 Amparo ruling, he

14:22:50   25   would not have pursued the prosecution of Mr. Ritchie.
                                                                                   1540
       Case 3:10-cv-01513-CAB-KSC Document 259 Filed 01/06/16 PageID.11924 Page 15 of




14:22:54   1              What we know is that Sempra had in its file, in its

           2    production of documents in this case, had in its file the 2001

           3    ruling.   It also had a copy of the 1999 ruling in its files.

           4    But there was no production by Sempra of that 2001 ruling to

14:23:22   5    the prosecutor, and we challenged Sempra.       We provided it as an

           6    uncontested statement of fact that that ruling was in its files

           7    and that it was not provided to the prosecutor's office, and

           8    the prosecutor said they had an obligation to do so because

           9    they had it, and given opportunity to respond and say, we

14:23:44   10   haven't had it in our files, they haven't done so, they haven't

           11   rebutted the assertion that they had it in their files and they

           12   haven't provided any evidence they did not have it in their

           13   files as of 2006.    They were presented with that opportunity

           14   and --

14:23:59   15             THE COURT:    Where?   When?   I'm sorry.   I'm not

           16   following your "presented with that opportunity."        The

           17   document-- take me down to where we're talking about, because

           18   this is your notion prove that they had this information, and

           19   it's not sufficient in my point of view for you to simply say,

14:24:20   20   well, we said they did, and they didn't show they didn't.         How

           21   do you know they had this document in their possession in 2006?

           22             MR. HULETT:   We don't know that.

           23             THE COURT:    Oh, okay.

           24             MR. HULETT:   What we do know is, they had the 1999

14:24:34   25   order in possession and that they had the 2001 order in their
                                                                                   1640
       Case 3:10-cv-01513-CAB-KSC Document 259 Filed 01/06/16 PageID.11925 Page 16 of




14:24:38   1    possession.

           2              THE COURT:    Right.   Later in discovery, you found that

           3    out.

           4              MR. HULETT:   Yes.

14:24:44   5              THE COURT:    You don't know when they got them, how

           6    they got them, and if they had them in 2006?

           7              MR. HULETT:   That's right.    We do know the prosecutor

           8    was provided a copy of the 1999 order.

           9              THE COURT:    When?

14:24:56   10             MR. HULETT:   We don't know from whom.

           11             THE COURT:    You don't know from whom, okay.

           12             MR. HULETT:   The prosecutor did not identify the

           13   source of that.    We do know that Sempra provided documents to

           14   the prosecutor's office as part of the complaint that it

14:25:08   15   instigated.    Specific documents, we don't know which documents

           16   Sempra gave the prosecutor's office or didn't, and the

           17   testimony of the prosecutor does not reveal that he received it

           18   from Sempra.   But there's no evidence as to what source that

           19   document is.   But there's also no rebuttal to the assertion

14:25:32   20   that Sempra had those documents at the relevant period of time.

           21   There's no rebuttal to that assertion, your Honor, and the

           22   evidence is that they had it in their files.        And I believe

           23   that when a statement of uncontested fact is made, that the

           24   responding party, in this case, Sempra, had an obligation to

14:25:54   25   step forward and say, no, we didn't have it in our files at the
                                                                                   1740
       Case 3:10-cv-01513-CAB-KSC Document 259 Filed 01/06/16 PageID.11926 Page 17 of




14:25:58   1    time, at the time the complaint was filed.

           2              THE COURT:    We addressed this in the order, and my

           3    recollection was that the only evidence that you provided that

           4    they had it was that it had a Bates stamp number on which

14:26:28   5    showed it was in their files during the course of this

           6    litigation?

           7              MR. HULETT:   That's right.    There was no testimony

           8    elicited during the discovery phase as to when that document

           9    was.

14:26:43   10             THE COURT:    Did you ask?

           11             MR. HULETT:   I don't remember that it was asked.

           12             THE COURT:    Okay.

           13             MR. HULETT:   Turning to the third reason why the

           14   exception here, we believe, applies and why and the evidence

14:27:03   15   that we've submitted, I think we submitted a compelling group

           16   of facts that the prosecutor's office here was unreasonably

           17   pressured, and those are the words from Sempra's own brief,

           18   that if the prosecutor's office and the prosecutor were

           19   unreasonably pressured or otherwise committed to prosecuting

14:27:28   20   the case with or without evidence, that in and of itself is

           21   grounds to not accept the interim rulings as providing Sempra

           22   with cover for probable cause.

           23             We've set forth the prosecutor was called into a

           24   meeting from the very first time they heard about this case.

14:27:49   25   Sempra's representatives were there with the lieutenant
                                                                                   1840
       Case 3:10-cv-01513-CAB-KSC Document 259 Filed 01/06/16 PageID.11927 Page 18 of




14:27:53   1    governor of Mexico.    He testified that he was effectively

           2    ordered by the lieutenant governor to prosecute the case before

           3    an investigation was even commenced.       He felt that the governor

           4    of Mexico, Baja, excuse me, his boss the one who could

14:28:13   5    terminate him for cause or no cause, had exerted pressure on

           6    the prosecutor to make sure that Sempra got the land back, or

           7    kept the land, I should say.

           8              And remember Sempra needed this land in order to

           9    proceed with its licensing.     We've set forth evidence on the

14:28:35   10   record as to Sempra's plans in 2005 to expand its plant.         The

           11   testimony is that expanded plant would require the lots that

           12   Mr. Ritchie claimed ownership to, and that's why Sempra went

           13   out to secure it.    Without having possession of that land,

           14   Sempra was at risk of not being able to complete the licensing

14:29:02   15   process and have those licenses revoked.       So we have that

           16   testimony from Mr. Hulse.

           17             They didn't file applications for licensing until they

           18   secured all the necessary lands.      They had secured in their

           19   mind title through the process that we've described, and when

14:29:20   20   they realized that they were faced with a contest, even though

           21   they knew that the contest was a likely contest because of

           22   Mr. Ritchie's possessory interest, they took steps to have the

           23   prosecutor's office influenced, unfairly so.        And as the

           24   prosecutor said, he felt compelled to pursue the claims.         And

14:29:46   25   we think that that in and of itself is sufficient.
                                                                                   1940
       Case 3:10-cv-01513-CAB-KSC Document 259 Filed 01/06/16 PageID.11928 Page 19 of




14:29:49   1              We've also provided evidence of the interference with

           2    the judiciary process.     Mr. Molina-Robles -- I'm sorry.

           3    Mr. Rippa testified that he had written an e-mail or written a

           4    letter about judge No. 2 in code about influencing the judge

14:30:10   5    through political and other means to assure the conviction of

           6    Mr. Ritchie.    Those pieces of evidence have not been rebutted

           7    at all by Sempra.    They relegate the request to a footnote

           8    saying that Mr. Luna and Ms. Navarro, who were the prosecutors,

           9    testified that despite all of the pressure that they felt, that

14:30:35   10   they had done a legitimate job.

           11             That's for the trier of fact to decide whether the

           12   prosecutor's office was unfairly pressured.        And that fact

           13   alone should give rise to allowing the trier of fact to decide

           14   that issue as to whether the interim rulings were or were not

14:31:01   15   secured in a proper fashion.

           16             And there is one other fact that we've set forth as

           17   being within Sempra's knowledge, constructive knowledge, at

           18   least as of 2006, which was withheld from the prosecutor's

           19   office and withheld from the Court in seeking interim rulings,

14:31:31   20   and that is, Ms. Castanon had passed away in 2004, two years

           21   after Sempra claims to have acquired the property from

           22   Ms. Castanon.    I don't think there is much doubt here, the

           23   experts on both sides testified that one who is deceased cannot

           24   transfer property in Mexico through a power of attorney, either

14:31:53   25   void or voidable, however one wants to articulate that.
                                                                                   2040
       Case 3:10-cv-01513-CAB-KSC Document 259 Filed 01/06/16 PageID.11929 Page 20 of




14:31:57   1               And what our testimony is, is through the experts, our

           2    expert, Mr. Gallo, and through Omar Paz.

           3               THE COURT:    Mr. Paz's statement that somebody who is

           4    dead told him somebody undisclosed and it was so loaded with

14:32:16   5    inadmissible hearsay, the Court would not consider the

           6    statement for any worth.

           7               MR. HULETT:   And I wasn't even going to make that

           8    argument.

           9               THE COURT:    Okay.   There is an argument featured in

14:32:28   10   your papers.

           11              MR. HULETT:   Actually it's not.    We didn't make the

           12   argument in our papers.     Sempra raised it in reply, but we

           13   don't actually make the argument.       Mr. Paz's receipt of

           14   information from Sempra's agent, that Sempra knew, that was not

14:32:43   15   part of our argument, so...

           16              THE COURT:    All right.   Well, go ahead with what the

           17   evidence is.

           18              MR. HULETT:   But it is through -- Mr. Paz did testify

           19   that a representative of Sempra said they knew Castanon was

14:33:00   20   dead.   That is testimony that is part of the record.

           21              THE COURT:    No, it's not because it's inadmissible

           22   hearsay.

           23              MR. HULETT:   It may not be admissible, but it's part

           24   of the record.

14:33:11   25              THE COURT:    No, because I'm sure they objected to it,
                                                                                   2140
       Case 3:10-cv-01513-CAB-KSC Document 259 Filed 01/06/16 PageID.11930 Page 21 of




14:33:13   1    therefore, it does not become part of the record.        It's not

           2    factual evidence in the case.      What's evidence that you have

           3    that they knew in 2006 that Castanon was dead?

           4              MR. HULETT:   What our expert, and Mr. Paz also

14:33:26   5    testified on this subject, that's why I mentioned Mr. Paz, not

           6    on the other issue.     But Galvin Gallo our expert and Omar Paz

           7    both testified that in transactions, real estate transactions

           8    in Mexico, especially one of this size, they had an obligation

           9    to contact the seller, even if there is a power of attorney,

14:33:47   10   especially one that is an old power of attorney.

           11             And again, we were not able to get any further into

           12   this evidence because Sempra refused to produce any of its due

           13   diligence files as to what efforts, if any, they made to

           14   contact Ms. Castanon.     The experts testified that due diligence

14:34:15   15   would have necessarily revealed her unavailability.         And also

           16   as a matter of public record, the death certificates in Mexico

           17   would have revealed her having passed.       We don't have any.

           18             THE COURT:    If this was so obvious that this

           19   transaction was a sham that she was dead, and the power of

14:34:34   20   attorney was ineffective and anyone who had done a modicum of

           21   due diligence would have recognized that this was never going

           22   to carry the day, why in the world they have paid $2.5 million

           23   to her power of attorney, her executor for this property then?

           24   What would be the rationale behind that.

14:34:54   25             MR. HULETT:   Well, I don't know that we have to prove
                                                                                   2240
       Case 3:10-cv-01513-CAB-KSC Document 259 Filed 01/06/16 PageID.11931 Page 22 of




14:34:56   1    the rationale behind it.

           2              THE COURT:    You want me to draw an inference that they

           3    would have done this, they would have done this if they would

           4    have done any looking.     It is so obvious it would have been an

14:35:07   5    improper and ineffectual deal.      To draw that inference, I would

           6    have to have some reason why you would pay that kind of money

           7    when you know, according to you, that Mr. Ritchie actually owns

           8    the property.    Why not just give the money to him then and be

           9    done with it?    Why create this entire sham and put all this

14:35:29   10   money on the table and all these years of litigation if it was

           11   so obvious to them in 2006 that Mr. Ritchie was the proper

           12   party to negotiate with?

           13             MR. HULETT:   Let me answer the first question, what

           14   would motivate Sempra to engage in transaction where the sale

14:35:48   15   may be ineffective.     The real reason is they were rushing to

           16   get licenses so they could expand the plant.        They could not

           17   get an application filed.     They could not get a license issued

           18   until such time as they secured the land under its control and

           19   ownership.   That's what was motivating them to move forward.         I

14:36:11   20   can't tell you, as I stand here, how long it would have taken

           21   them to acquire the property with the legitimate process with

           22   the heirs of Ms. Castanon.     I don't know.    I don't know that.

           23             It's clear that Mr. Pena was representing Castanon in

           24   the sale.    He repeatedly lied to the Court.      He told the Court

14:36:33   25   she was alive in Nicaragua and all sorts of lies.        He was not
                                                                                   2340
       Case 3:10-cv-01513-CAB-KSC Document 259 Filed 01/06/16 PageID.11932 Page 23 of




14:36:38   1    able to be found in this case.      He is sort of the architect, if

           2    you will, of this.

           3              THE COURT:    So he took the 2 million and ran?

           4              MR. HULETT:   Apparently.

14:36:50   5              THE COURT:    Possibly?

           6              MR. HULETT:   Apparently.

           7              THE COURT:    And if he hadn't lied to Sempra and told

           8    them she was alive and she was in Nicaragua and this was all

           9    legitimate and the woman and man with the power of attorney of

14:37:04   10   her estate was able to make the deal, then they -- again, it's

           11   hard for me to connect the dots.      If they're creating this

           12   entire sham to dispossess your client from property, then why

           13   go through all this mechanism and actually pay good money to

           14   somebody finish a deal you think is a deal, that is going to

14:37:37   15   give you possession of the property?       Why not create sham

           16   documents and go forward?     I mean, why?

           17             Like this expensive part to look like there's no lie

           18   when the whole thing is a big lie?      It doesn't follow to me

           19   that Sempra went into this arrangement or ECA went into this

14:37:56   20   arrangement through their agents with people representing folks

           21   who said they owned that property and had whatever title issues

           22   they had, bought it from them, took possession, started to

           23   build, and did all that knowing that it was all false and that

           24   at any moment your client was going to show up with a gun and

14:38:18   25   say, get the hell off my property.
                                                                                   2440
       Case 3:10-cv-01513-CAB-KSC Document 259 Filed 01/06/16 PageID.11933 Page 24 of




14:38:22   1              MR. HULETT:   All I can tell you is that if you're

           2    Sempra and you need title to that property and ownership

           3    interest in that property, and you need it quickly, there's one

           4    way to do it and to secure the property through this title.

14:38:35   5              THE COURT:    There was nothing quick about this.

           6              MR. HULETT:   As I tried to explain it in the papers, I

           7    agree with you.    I don't think for a second Sempra ever

           8    expected Mr. Ritchie could defend himself, not because they

           9    didn't know that he had legitimate possessory interest in the

14:38:54   10   property, but because we have this had alleged squatter with,

           11   you know, no means to defend against the rich and powerful

           12   Mr. Sempra.   I can't get into the heads and minds of Sempra --

           13             THE COURT:    All right.

           14             MR. HULETT:   -- as to whether or not they forecasted

14:39:10   15   in their own head that this would be going on nine years later,

           16   questioning over whether they mistreated Mr. Ritchie or took

           17   advantage of him or not.

           18             THE COURT:    All right.   I interrupted you.     Why don't

           19   you go ahead and -- I know there's a lot here, but why don't

14:39:30   20   you finish up whatever you think is most important to finish

           21   your argument, so I can give Sempra some time.

           22             MR. HULETT:   Okay.   I think I have dealt with the

           23   Castanon issue.    We've presented evidence that they could have

           24   at least found out that she as unavailable and otherwise not be

14:39:48   25   able to transfer title through their admissions of due
                                                                                   2540
       Case 3:10-cv-01513-CAB-KSC Document 259 Filed 01/06/16 PageID.11934 Page 25 of




14:39:53   1    diligence process.

           2              Your Honor also indicated that you found there was no

           3    indicia of malice, and obviously, if the Court were to find

           4    that there is evidence that would support a claim that Sempra

14:40:11   5    had lied, that in and of itself would provide us with malice

           6    alone.

           7              One thing that has not really been discussed in the

           8    papers very deeply is the existence of the 2009 prosecution.

           9    Also remember, if you will, that in 2006, there was a complaint

14:40:30   10   filed against Mr. Ritchie, a criminal complaint, ultimately

           11   exonerated of that in 2009, in 2007, and also on appeal in

           12   2009.    And immediately thereafter, at Sempra's insistence with

           13   the prosecutor's office, they duplicate the 2009 prosection of

           14   the exact same claim defense was filed, and it was ultimately

14:40:59   15   terminated due to conditions of double jeopardy.        And that just

           16   shows you the level of malice, if you will, that Sempra had

           17   towards Mr. Ritchie.

           18             Also the fact that Mr. Ritchie had filed a complaint

           19   against Sempra in 2006 once he first found out about the

14:41:23   20   illegal occupation, there was a retaliatory complaint.         Sempra

           21   had not filed a complaint against Mr. Ritchie for anything

           22   until after Mr. Ritchie had initiated proceedings against

           23   Sempra for its wrongful occupation.

           24             I think finally, just I would like to discuss the

14:41:50   25   concept of collateral estoppel.      I know your Honor has already
                                                                                   2640
       Case 3:10-cv-01513-CAB-KSC Document 259 Filed 01/06/16 PageID.11935 Page 26 of




14:41:56   1    made findings on that.     The question is whether or not there

           2    was the prosecution of the claims and the defensible claims in

           3    Mexico were identical as far as the issues here.        We have

           4    identical issues, who was entitled to possession.        And Sempra

14:42:16   5    prosecuted, or I should say, participated in the prosecution in

           6    seeking to have that determination in its favor.

           7              So that is clearly step No. 1, are the issues

           8    identical?   Yes, in fact, they are.     Were the issues actually

           9    litigated to a final determination?      That's not in dispute.

14:42:37   10   Was the issue necessarily decided?      Yes, because the issue of

           11   possession was the ultimate question of whether or not

           12   Mr. Ritchie was guilty of any crime.

           13             So the only real question is, has there been a showing

           14   of privity between Sempra and the prosecution?        I think we have

14:42:59   15   already talked about the level of participation that Sempra had

           16   in the prosecution the prosecutor's office, the supplying of

           17   evidence, the participation in the appeals.        All of that, we

           18   believe is sufficient evidence to establish that there was a

           19   privity of interest between Sempra and the government.

14:43:16   20             THE COURT:   Do you have any cases that would parallel

           21   that sort of thing where a criminal prosecution was found to be

           22   collateral estoppel against a private party against the

           23   bringing of the charges on the basis that they were in privity

           24   with the government entity that brought a prosecution?         Because

14:43:36   25   we sure didn't find anything.
                                                                                   2740
       Case 3:10-cv-01513-CAB-KSC Document 259 Filed 01/06/16 PageID.11936 Page 27 of




14:43:49   1              MR. HULETT:   Not that specific case, but I don't

           2    think -- I think the cases say that what you have to establish

           3    is a common interest.     And clearly there was a common interest

           4    the government proving its complaint against Mr. Ritchie, and

14:44:06   5    that common interest was identical to Sempra's.

           6              THE COURT:    The interests were different.     The result

           7    might have had some commonality to it, but the government's

           8    interest was not to benefit Sempra to build the plant there.

           9    It was to prosecute someone as a result of violating the laws

14:44:25   10   of Mexico, someone who yielded a gun and forced his way onto

           11   the property and threatened people's lives.        That was the

           12   government's interest.     Sempra's interest, according to you,

           13   was to get him off, so they can build their plant or protect

           14   the property they believed they lawfully owned, but I don't see

14:44:43   15   it.   Well, the Court didn't find privity.      I don't find

           16   authority for it.

           17             MR. HULETT:   On that issue, I think that as we try to

           18   establish with the evidence that the prosecutor's office and

           19   the government of Mexico's interest was the same as Sempra's,

14:44:58   20   which was, get Ritchie offer the land so that Sempra could

           21   develop the billion and a half dollar project that the

           22   government --

           23             THE COURT:    If it was, then wouldn't Mr. Ritchie still

           24   be depossessed right now?     I mean --

14:45:13   25             MR. HULETT:   I'm not that --
                                                                                   2840
       Case 3:10-cv-01513-CAB-KSC Document 259 Filed 01/06/16 PageID.11937 Page 28 of




14:45:15   1              THE COURT:    Do you really think that train would have

           2    stopped at that point?

           3              MR. HULETT:   I'm not that cynical to suggest that the

           4    courts of Mexico wouldn't ultimately see the truth of the

14:45:24   5    facts, and, in fact, they did.

           6              THE COURT:    And if the individual prosecutors provided

           7    testimony that said, we were not unduly influenced by this, and

           8    we did a fair and independent investigation, then it's just

           9    really your inference that there was something else going on,

14:45:42   10   but not in spite of their comments.

           11             MR. HULETT:   I respectfully disagree.      I think you're

           12   weighing the evidence at this point.       You're saying that we

           13   have testimony and evidence that suggests the prosecutor's

           14   office was unduly influenced by the lieutenant governor, the

14:45:56   15   governor's office, and Sempra, and the judiciary was unduly

           16   influenced by those people, and we have the declarants of the

           17   prosecutor saying, oh, gosh none of that pressure, none of

           18   those orders, none of that stuff jeopardized by prosecution.

           19   That's the question for if the jury.       You can't imagine a

14:46:17   20   prosecutor actually testifying that they did something

           21   inherently wrong despite the evidence that he was compelled by

           22   his superior to prosecutor.

           23             THE COURT:    All right.   Thank you.

           24             I would like to start with the first question because

14:46:34   25   the plaintiffs are right, the Court raised issue of whether
                                                                                   2940
       Case 3:10-cv-01513-CAB-KSC Document 259 Filed 01/06/16 PageID.11938 Page 29 of




14:46:38   1    Sempra is -- whether the plaintiffs demonstrated that Sempra

           2    actually was involved in this case, and the reason it was

           3    heavily on my mind was the whole reason this case is still

           4    here, that it survived the motion to dismiss and it's before

14:46:53   5    this Court was that the Court found that because of all these

           6    acts that happened in Mexico, that involved property in Mexico

           7    between parties in Mexico and a criminal prosecution in Mexico

           8    against a Mexican citizen by Mexican prosecutors brought by a

           9    Mexican company, the only reason this district court would have

14:47:12   10   any interest in this case was because a U.S. corporation that

           11   resides in this district was accused of orchestrating these

           12   events, and, therefore, we would have some interest in

           13   jurisdiction and subject matter jurisdiction under a malicious

           14   prosecution claim and applying California malicious prosecution

14:47:35   15   law to all these events that happened extrajudicially.

           16             I was very surprised actually that that was not your

           17   first argument that there was no evidence to suggest that

           18   Sempra from its corporate offices sitting over in Kearny Mesa

           19   pulled the strings on this thing.      So why not?

14:47:54   20             MR. CAMP:   Well, your Honor, first of all, thank you.

           21   And I just want to start by saying we appreciate the tentative.

           22   It's going to sound solicitous, but it's incredibly detailed.

           23   We appreciate the time the Court obviously took too look at the

           24   record.

14:48:09   25             To answer that directly, the allegations obviously
                                                                                   3040
       Case 3:10-cv-01513-CAB-KSC Document 259 Filed 01/06/16 PageID.11939 Page 30 of




14:48:11   1    that form the nucleus of the complaint, and the plaintiffs

           2    approached this entire case to conflate Sempra with its

           3    indirect subsidiary.    So we fought the whole time against the

           4    reality that until this point, we were dealing with allegations

14:48:26   5    about what Sempra did.     At this point, at summary judgment,

           6    what we said is that there is no evidence sufficient to meet

           7    the elements of the malicious prosecution claim against the

           8    defendant here, Sempra Energy.

           9              It is certainly plaintiff's burden if they would like

14:48:43   10   to argue that, in fact, ECA did something, and those acts can

           11   either be contributed to Sempra or Sempra orchestrated them, to

           12   produce evidence to that effect.      We don't have to sort of

           13   anticipate every alternative theory they have and explain why

           14   it's wrong.   What we said is, there isn't evidence that Sempra,

14:49:00   15   No. 1, initiated a criminal action against Mr. Ritchie; No. 2,

           16   lacked probable cause as California law defines that; No. 3,

           17   acted with any malice.

           18             If they want to come back and say, no, there's all

           19   kinds of evidence that ECA did, and here is why ECA is really

14:49:19   20   Sempra, they can do that.     They didn't.    It wasn't our burden

           21   to do that, I submit, your Honor.

           22             I want to, if I could, address something that we've

           23   dealt with, and I think your Honor encountered it here

           24   throughout this case.     The plaintiff's case focuses a lot on

14:49:33   25   bald claims about what happened in Mexico and what documents
                                                                                   3140
       Case 3:10-cv-01513-CAB-KSC Document 259 Filed 01/06/16 PageID.11940 Page 31 of




14:49:36   1    say.   And when you push, when you drill, you get answers like,

           2    well, it's in a document that's in Mexico, that's not here,

           3    that's not in the record, I've never seen it, I don't have it.

           4    Those are the answers we've been getting for five years.

14:49:49   5              And so I just want to quickly before I -- and I'm

           6    going to keep this brief.     Before I address the elements, I

           7    just want to give you a few examples of what just happened in

           8    this argument.    First, we had evidence of where is this key

           9    document that we have been hearing about too that holds that

14:50:04   10   Mr. Ritchie had possessory rights?      Don't have it.

           11             Second, we just heard a moment ago this theory that

           12   Sempra, really ECA, must have been trying to get Mr. Ritchie

           13   off the land, so he could get the permits, and that's why they

           14   rushed into this absurd scenario your Honor identified,

14:50:24   15   spending more than $4 million to buy property from someone they

           16   didn't genuinely believe owned it rather the than the guy who

           17   was trying to sell it five years earlier, according them, which

           18   makes no sense.    Why did they do it?     They needed the permits.

           19             But that's wrong.    The permits were granted before lot

14:50:42   20   A3 was purchased.    In June of 2005, the permits were approved.

           21   The lot wasn't purchased until to January of 2006.        So you just

           22   get this sort of bald claim.      Where is the evidence of that?

           23   Never mind.   Let's move on.    That's sort of the response we

           24   get.

14:50:57   25             I do want to focus on this comment about Mr. Paz, and
                                                                                   3240
       Case 3:10-cv-01513-CAB-KSC Document 259 Filed 01/06/16 PageID.11941 Page 32 of




14:51:00   1    then I'll turn back to the big picture.       In their opposition,

           2    you get finally at page 14, where they lay out this theory that

           3    the prosecutions were procured by fraud and perjury.         It's hear

           4    of their -- it's the res gestae of this case.        And they say

14:51:14   5    there are three ways that was true.      No. 1, Mexican courts have

           6    conclusively found.    You can stop there.     They're relying on

           7    inadmissible fact findings without any significant specificity.

           8    Second, this is No. 2.     Second, Sempra and its co-conspirators

           9    knew in 2006 or at least recklessly disregarded that Castanon

14:51:35   10   had died in 2004.    What do they cite?     No. 1, an expert who we

           11   have challenged separately, but on the subject of what sort of

           12   real estate diligence normally involves.       And No. 2, the

           13   testimony by Mr. Paz that he heard from a dead guy that heard

           14   from another guy that Sempra knew.      And then what happens is,

14:51:54   15   we respond to that, okay, there's the evidence.        We can answer

           16   that.   He gets up here and says, you know, it's very funny, we

           17   didn't raise that issue.     Sempra injected it into the reply.

           18   This has gone on for five years.      It's whack-a-mole.     So

           19   finally, when you drill down to the specific evidence, there's

14:52:12   20   nothing there.

           21             I want to turn back quickly to the elements of

           22   malicious prosecution.     It certainly doesn't need restating

           23   that it's a disfavored tort, and there's a good reason for

           24   that.   You don't want everyone who thinks they have won some

14:52:26   25   way in a litigation to now have a basis for a tort claim
                                                                                   3340
       Case 3:10-cv-01513-CAB-KSC Document 259 Filed 01/06/16 PageID.11942 Page 33 of




14:52:29   1    against a loser, which is what would happen if you had a very

           2    liberal standard.    So the elements, what happens is, plaintiff

           3    tends to focus sort of obsessively on parts of an element but

           4    doesn't talk about the entire element.       So element No. 1 is

14:52:44   5    that the action was commenced by or at the direction of the

           6    defendant.   I've addressed that.     I will address it again in a

           7    moment.   But in a criminal case where the criminal authority

           8    initiates the action, plaintiff has to overcome the presumption

           9    of an independent investigation.      I'll talk about that in a

14:53:00   10   moment.   No. 2, that the action was commenced without probable

           11   cause.    No. 3, that the defendant acted with malice.

           12             So let's talk just for a second about No. 2.        This is

           13   not, of course, the probable cause standard we know from

           14   criminal.    There is a California standard for this tort, and

14:53:17   15   quoting from the Wilson case, it applies only to those actions

           16   that any reasonable attorney would agree are totally and

           17   completely without merit may form the basis for a malicious

           18   prosecution claim.

           19             So what was the claim?     We've outlined this in detail

14:53:34   20   with a lot of citations to evidence in our papers, ECA's claim

           21   in June 2006 -- I'm sorry, July of 2006 and then amplified in

           22   August of 2006 was based on three acts.       No. 1, June of 2006

           23   after ECA has purchased the property from the titled owners

           24   with notarial recitations of chain of title they started doing

14:53:58   25   topography jobs.    Plaintiff admittedly, undisputedly deposits
                                                                                   3440
       Case 3:10-cv-01513-CAB-KSC Document 259 Filed 01/06/16 PageID.11943 Page 34 of




14:54:02   1    motor homes shells there and does so on Fraction B, the part

           2    that has nothing to with Castanon.      That's the No. 1 basis of

           3    the complaint and arrest warrant.

           4              No. 2, July 21, 2006, undisputed, plaintiff enters on

14:54:17   5    the property, pulls out a gun, and threatens to kill the ECA

           6    employees who are building the fence there that is already

           7    partially up.    No dispute.   He invoked the fifth.     The Court

           8    may make an adverse inference.

           9              No. 3, August 20, 2006, no dispute, plaintiff cuts

14:54:32   10   through the fence now erected, and he and family members occupy

           11   the property.    It is all undisputed.     It is the basis for the

           12   complaint, it is the basis for the arrest warrant approved in

           13   January of 2007, and it's the basis for the order of commitment

           14   entered in February 2007.

14:54:49   15             Everything they're talking about does not go to that

           16   reasonable basis to believe a crime is committed.        And if you

           17   find there is a reasonable basis, or not just a reasonable

           18   basis, but that no attorney would agree that this is -- has any

           19   possible merit, that it's totally, completely without merit, if

14:55:06   20   you find there's any reasonable basis for the claim, it's the

           21   end of the analysis because there was no lack of probable

           22   cause.

           23             What my friend Mr. Hulett's entire presentation

           24   fixated on was an alternative ground for finding probable

14:55:20   25   cause, which was there was an error of ruling.        Well, these are
                                                                                   3540
       Case 3:10-cv-01513-CAB-KSC Document 259 Filed 01/06/16 PageID.11944 Page 35 of




14:55:23   1    two separate ways you can get to the same outcome.        If you find

           2    there was an interim ruling by a court in a criminal case or a

           3    civil case on the merits, even if it's subsequently reversed,

           4    that ruling establishes dispositively that the claim wasn't so

14:55:39   5    lacking in potential merit that a reasonable attorney or

           6    litigant wouldn't necessarily recognize it as frivolous.

           7               We cite Wilson and Parish.    There are other cases that

           8    your Honor's tentative addresses it.       We think that's an

           9    alternative, but equally sufficient basis to find there was

14:55:53   10   probable cause.    Two courts found it to be so.

           11              The reason Mr. Hulett focuses on it is because of this

           12   argument that ECA somehow withheld or misled the Court into its

           13   judgment.    But nearly everything he talked about were things

           14   plaintiff presented or could have presented in the course of

14:56:13   15   this six-day evidentiary hearing.      So the idea that we, ECA, or

           16   Sempra withheld something from the Court is sort of frivolous

           17   because the plaintiff had every opportunity to and did present

           18   all of that evidence.

           19              So if there is a mystery document in Mexico that

14:56:30   20   definitively establishes his possession and Sempra has no valid

           21   claim, presumably that would have been presented and the Court

           22   might have thought something about it.       We detailed in some

           23   detail the 197-page order that found probable liability.

           24   That's enough.    That's an independent basis.      So that's one

14:56:49   25   element.    And without that element satisfied, and we don't
                                                                                   3640
       Case 3:10-cv-01513-CAB-KSC Document 259 Filed 01/06/16 PageID.11945 Page 36 of




14:56:51   1    think there is any evidence to satisfy it, it's the end of the

           2    analysis.

           3               Next, malice.   It gets very short shrift in both

           4    plaintiff's papers and in this argument, but I want to focus on

14:57:03   5    what Mr. Hulett said.      He said, there's evidence that Sempra

           6    intentionally -- well, I don't think I have the quote right,

           7    but the point of the law is that a bare assertion --

           8               THE COURT:   I think he said it would become a question

           9    of fact.    I'll paraphrase.     A question of fact for the jury if

14:57:24   10   the Court finds that Sempra intentionally misrepresented or

           11   intentionally withheld material information to procure the

           12   prosecution.    Then because that was an intentional lie or

           13   misrepresentation --

           14              MR. CAMP:    Right.

14:57:36   15              THE COURT:   -- or omission, one could infer malice.

           16              MR. CAMP:    Thank you, your Honor.   Yes, that is what

           17   he said.    And we think it's contrary to the Estate of Tucker.

           18   A bare assertion that something was fabricated does not show

           19   malice.    Malice is the plus factor, so intentionally misstate,

14:57:52   20   intentionally filing a claim that you believe to have probable

           21   cause, that is not enough.       There's something else, an animus,

           22   a motivation.

           23              I would submit that's why we have all this irrelevant

           24   collateral stuff about needing the property and the permits.

14:58:07   25   The problem is, there is just no evidence of it.        The evidence
                                                                                   3740
       Case 3:10-cv-01513-CAB-KSC Document 259 Filed 01/06/16 PageID.11946 Page 37 of




14:58:10   1    was that the property wasn't needed for any permits, that the

           2    permits were actually approved before the property was

           3    acquired.

           4              And finally, very briefly on the first element, I know

14:58:20   5    we talked about ECA and Sempra.      We think the tentative

           6    correctly finds there is no evidence Sempra initiated the

           7    proceeding.    Your Honor's tentative also notes there is no need

           8    to get to the question of independent judgment of the

           9    prosecution.   We agree.

14:58:36   10             We also raise another independent basis to grant

           11   summary judgment, and particularly it's noteworthy, I think

           12   your Honor may have mentioned it, in the tentative, these

           13   one-sided depositions they took without any participation from

           14   us.   Remarkably, despite the nature of them, both the attorney

14:58:54   15   general and his deputies say they carefully investigated, they

           16   had to weigh the evidence on both sides, they found and quote

           17   this, they found Mr. Ritchie's evidence was -- it was

           18   impossible to substantiate things like claims of farming the

           19   land.   So they investigated thoroughly.

14:59:12   20             The only argument they were sort of not independent is

           21   this claim that we withheld information.       I think we have

           22   thoroughly addressed the stuff about Ms. Castanon.        Your

           23   Honor's questions revealed you're very conversant with this

           24   2001 order.    It doesn't have anything to do with plaintiff.

14:59:30   25   His name is nowhere in it.
                                                                                   3840
       Case 3:10-cv-01513-CAB-KSC Document 259 Filed 01/06/16 PageID.11947 Page 38 of




14:59:32   1              There is no evidence other than it was produced in

           2    November 2014 that ECA, much less Sempra, was aware of it in

           3    2006 or if they had been, it wouldn't have affected anything,

           4    as their own witness in this one-sided deposition said, all

14:59:47   5    that order says is the request for a certificate of possession

           6    is outside the scope of relief they saw in Amparo, okay.         So

           7    it's never been explained why knowledge of this is Sempra's

           8    belief that a crime had been committed.

           9              And, finally, if your Honor doesn't mind, I would just

15:00:03   10   ask my associate, Mr. Linderman, to briefly address the

           11   collateral estoppel issue, or do you not need anything on that?

           12             THE COURT:   No, that's okay.      Why don't you go ahead

           13   and do that.   Just a point of clarification for the Court, what

           14   is the status from Sempra's point of view of the --

15:00:20   15             MR. CAMP:    Yes.   I'm sorry, your Honor.    It is

           16   certainly not over.    There has been, and we have a -- I believe

           17   it's Exhibit U to Mr. Linderman's declaration in support of the

           18   motion, the declaration of Mr. Araiza, the issue of who has a

           19   legal right of possession to the property is still being

15:00:38   20   actively and hotly litigated in Mexico.       It is true there was a

           21   status quo order entered in 2010, I believe, that allowed

           22   Mr. Ritchie to return to the property, but certainly as

           23   Mr. Hulett said, no quote final adjudication of his rights.           It

           24   is an ongoing litigation.

15:00:59   25             THE COURT:   Okay.    Thank you.
                                                                                   3940
       Case 3:10-cv-01513-CAB-KSC Document 259 Filed 01/06/16 PageID.11948 Page 39 of




15:01:00   1               MR. CAMP:   Thank you.

           2               MR. LINDERMAN:   Thank you, your Honor.     I just wanted

           3    to address the collateral estoppel arguments that Mr. Hulett

           4    made.   As an initial matter, he identifies the five elements in

15:01:14   5    his opposition.    He went through them again up here, but he

           6    hasn't actually established any of them.       He just said, these

           7    are the exact same issues litigated.       These parties are in

           8    privity.   There is no evidence suggesting these elements have

           9    been established.      And as the plaintiff, it's his burden to

15:01:33   10   establish collateral estoppel.

           11              I also just wanted to mention what the Court

           12   recognized in its tentative which is, collateral estoppel can't

           13   apply as a matter of public policy or shouldn't apply as a

           14   matter of public policy to a malicious prosecution.         That's

15:01:49   15   what the Plumley court said.      It would violate well-stablished

           16   principles that litigants and attorneys who in a legal credible

           17   action are not subject to liability for malicious prosecution

           18   simply because a trier of fact disbelieves their version of

           19   conflicting evidence and makes findings adverse to them.

15:02:04   20              It would be perverse to permit a litigant in a

           21   malicious prosecution case to come into the court and say, here

           22   is an order conclusively establishing this fact, therefore, I

           23   win, which is essentially what the plaintiff is trying to do

           24   here.   So in addition, to not establishing any of the five

15:02:22   25   elements, plaintiff hasn't even addressed the issue of applying
                                                                                   4040
       Case 3:10-cv-01513-CAB-KSC Document 259 Filed 01/06/16 PageID.11949 Page 40 of




15:02:25   1    collateral estoppel in a malicious prosecution action.         Thank

           2    you, your Honor.

           3              THE COURT:    All right.   Thank you.    The matter is --

           4              MR. HULETT:   Can I?

15:02:43   5              THE COURT:    It's their motion.    They get the last

           6    word.   Whatever you had to say, I hope you said it.        Thank you.

           7    We will issue a final ruling.

           8              MR. CAMP:    Thank you, your Honor.

           9              MR. HULETT:   Thank you, your Honor.

15:02:59   10       (Court in recess at 3:00 P.M.)

           11       *** End of requested transcript ***

           12                    CERTIFICATE OF OFFICIAL REPORTER

           13             I, Mauralee Ramirez, Federal official Court Reporter,

           14   in and for the United States District Court for the Southern

15:03:01   15   District of California, do hereby certify that pursuant to

           16   Section 753, Title 28, United States Code that the foregoing is

           17   a true and correct transcript of the stenographically reported

           18   proceedings held in the above-entitled matter and that the

           19   transcript page format is in conformance with the regulations

15:03:01   20   of the Judicial Conference of the United States.

           21              Dated this 6th day of January 2016.

           22             /S/ Mauralee Ramirez________________
                          Mauralee Ramirez, CSR No. 11674, RPR
           23             Federal Official Court Reporter

           24

15:03:01   25
